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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA
               Plaintiff,

                     v.                                      CASE NO.: 1:21-mj-00307


JEFFERY MCKELLOP
              Defendant.


                              DEFENDANT’S MEMORANDUM
                           IN SUPPORT OF PRE-TRIAL RELEASE

       The Defendant, Jeffrey McKellop, by and through counsel, respectfully requests that this

Honorable Court grant the Defendant’s motion for review and revoke the magistrate judge’s

order of detention, and release Mr. McKellop pending trial. A defendant who is denied pretrial

release by a magistrate judge is entitled to move for revocation of the magistrate judge’s order.

18 U.S.C. 3145(b). The review of a magistrate judge’s detention order is de novo as to issues of

law and fact. See United States v. Chrestman, No. 21-mj-218-ZMF (D.D.C. February 26, 2021)

(determining that the Bail Reform Act, Federal Magistrates Act, and Local Rules of the United

States District Court for the District of Columbia support the conclusion that review of a

magistrate judge’s detention order is a de novo review by the district court).

       Mr. McKellop is accused of crimes that qualify for the Government to request pretrial

detention under 18 U.S.C. §§3142(f)(1)(A) and §§3142(f)(1)(E). There is no presumption against

pretrial detention in this case under 18 U.S.C. §3142(e)(2). Therefore, it is the Government’s

burden to show that there are no conditions listed under 18 U.S.C. §3142(c) that can reasonably

assure that the Defendant is not a flight risk, nor to guarantee that he is not a danger to the

community. The Government’s burden of proof to detain based on risk of flight is preponderance
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of the evidence. United States v. Gonzalez, 805 Fed. Appx. 8, 9 (D.C. Cir. 2020). The

Government’s burden of proof to detain based on a danger to the community is clear and

convincing evidence. United States v. Vasquez-Benitez, 919 F.3d 546, 550 (D.C. Cir. 2019). The

Defendant contends that he is neither a flight risk nor a danger to the community.

        In making its determination, the Court is to consider the four factors laid out in 18 U.S.C.

§3142(g). The Defendant respectfully requests that the following points and authorities, as well

as any other facts, arguments, and authorities presented at the detention hearing, be considered in

the Court’s determination regarding pre-trial detention.

                                  FACTUAL BACKGROUND

        Mr. McKellop served a total of nearly twenty-two and a half years of active-duty service,

and just under one year of inactive service in the United States’ Army. Exhibit A – Defendant’s

Certificate of Release or Discharge from Active Duty. Mr. McKellop spent nine years of his

service in the Special Forces. Id. at n. 11. Mr. McKellop honorably retired from the United

States’ Army on August 12, 2010. Id. at n. 23-24. During Mr. McKellop’s twenty-two and a half

years of active service, Mr. McKellop received numerous Decorations, Medals, Badges,

Citations and Campaign Ribbons, including the 3 Bronze Stars and a Meritorious Service Award.

Id. at n. 13, 18. Mr. McKellop served two deployments in Iraq (totaling one year), and two

deployments in Afghanistan (totaling one year and ten months). Id. at n. 18.

        Mr. McKellop traveled to Washington D.C. for the purpose of attending the rally on

January 6, 2021 for then-President Donald J. Trump. Exhibit B – Sworn Affidavit from Scott

Steiert. He was invited to join his friend Mr. Scott Steiert. Id. Mr. Steirt was concerned about

violence from counter protesters, so Mr. McKellop brought his body armor to protect himself

and his friends. Id.
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       In early February, several photographs of Mr. McKellop were posted on the Federal

Bureau of Investigation’s (FBI’s) website with numbered identifiers, starting with 215, some

with Mr. McKellop’s face and others purporting to be him wearing a gas mask. Statement of

Facts at 3-4. Within forty-eight (48) hours of posting of the pictures online, the FBI received two

tips from individuals purporting to have knowledge of the identity of the individual 215. On

February 7, 2021, Mr. McKellop contacted Counsel to begin the process of reaching out to the

Government in relation to the incident in question. On February 9, 2021, Counsel attempted to

contact the FBI and was unable to reach an agent or other representative. On February 11, 2021,

Counsel was able to reach a Deputy of the United States’ Attorney’s Office involved in this

matter for an initial discussion related to this matter. On February 12, 2021, Counsel, at the

direction of Mr. McKellop, informed the Deputy of Mr. McKellop’s name and the number

identifier he was given on the FBI’s website. Several emails were exchanged related to staffing

the case. Ultimately, a phone conversation occurred between Government Counsel and Defense

Counsel on February 17, 2021.

       On March 14, 2021, Counsel was contacted by the Government to discuss setting up a

self-surrender Mr. McKellop. On March 16, 2021, arrangements were made for the self-

surrender with Mr. McKellop’s full knowledge and cooperation. A self-surrender was arranged

and occurred, without incident, on March 17, 2021 at the Washington Field Office for the FBI.

Mr. McKellop was asked to bring the cell phone he had in his possession on January 6, 2021,

which he did. Mr. McKellop has been in custody since his surrender.

       On March 18, 2021 an initial appearance was held and a detention hearing scheduled for

March 22, 2021. The hearing began as scheduled, but was delayed due to Mr. McKellop

experiencing a severe asthma attack in the middle of the hearing. The hearing was concluded on
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March 23, 2021. Magistrate Judge Faruqui ruled that Mr. McKellop was not a flight risk, but that

there was sufficient evidence to support a finding of dangerousness to the community. This

motion follows.

                                           ARGUMENT

       The defendant requests that this Court grant him pretrial release, as there are conditions

that can reasonably be placed upon him to ensure: a) the safety of the community and b) his

appearance in this Court. The factors of 18 U.S.C. §3142(g) that the Court should consider when

determining whether to release an individual pending trial are: 1) the nature and circumstances of

the offense charged; 2) the weight of the evidence against the defendant; 3) his history and

characteristics, and 4) the nature and seriousness of the danger to any person or the community

that would be posed by his release. 18 U.S.C. §3142(g). The weight of all of these factors, and

the Government’s own actions in relation to Mr. McKellop, are in favor of release.

                      Nature and Circumstances of the Offense Charged

       The offenses charged against Mr. McKellop are crimes related to a riot that stemmed

from a rally for the then-President of the United States on January 6, 2021. The pictures of the

riot show hundreds, if not thousands of individuals, participating in the events outside of the

Capitol Building on January 6, 2021. This Court has stated that there are several sub parts to this

factor that the Court will consider: 1) the severity of the offense, 2) level of planning, 3) the

carrying or use of a dangerous weapon, 4) participation/coordination with others, 5) leadership

roles, and 6) egregiousness of conduct. See United States v. Chrestman, Case No. 21-mj-218-

ZMF (D.D.C. February 26, 2021) ECF. No. 23, 14-16.

       With respect to the severity of the offenses alleged, these are felony offenses that are also

crimes of violence. However, they do not necessarily depict an intent to enter the Capitol
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Building as the Government contended. In fact, they do not allege that Mr. McKellop even

breached the Capitol Building. Further, the Government contends that the alleged attacks were

targeted, however, based on the locations of the officers to each other, and the length of time that

these alleged assaults took place, they appear to simply have been in one general area with no

direction or plan. The alleged assaults took place over the course of approximately one and a half

to two minutes.

       As to the alleged level of planning, what tactical equipment Mr. McKellop was wearing

was brought in case of violence caused by counter protesters. See Exhibit B at 1. There is no

evidence that Mr. McKellop intended on demonstrating at the Capitol Building on the day in

question. Instead, the evidence indicates that Mr. McKellop attended the rally for then-President

Donald Trump, and then, as with many, walked with the crowd to the Capitol Building.

       With respect to carrying a dangerous weapon, Mr. McKellop did not come armed with

any firearms, nor is there evidence of any knives or other bladed weapons. He did have a flag

with him, however, the flagpole, that he can be seen carrying in the images does not appear to be

tipped with any sharp object. See ECF No. 1, Att. 1, at 6, 9. Mr. McKellop is accused of using a

flag as a bludgeon and projectile in one of the assaults, however, the flag that appears to be used

in the images, was not the same flagpole that Mr. McKellop appears to have brought with him

(which also raises questions as to whether this is the same individual).

       As far as coordination with other rioters, there is no evidence that Mr. McKellop

coordinated with anyone related to the riot. Mr. McKellop attended the rally for then-President

Trump at the request of his friend. See Exhibit B at 1. There is no evidence that this friend nor

Mr. McKellop intended on rioting when they attended the rally. There is no evidence that he
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coordinated any of the alleged assaults with any other members of the crowd. Nor is there any

evidence of any communications, let alone planning, with anyone after January 6, 2021.

       Similarly, the individual alleged to be Mr. McKellop in the Government’s photographs

cannot be seen to have taken a leadership role. There is no evidence of any statements telling

anyone to advance on the officers, or any symbols, gestures, or other actions that can be seen as

giving orders, requesting assistance, or encouraging others to act.

       Admittedly the egregiousness of the conduct that is alleged against Mr. McKellop is

serious, however, the conduct in question is from targeted or premeditated, as the Government

would contend. Based on the description in both the Statement of Facts and the Government’s

Memorandum in Support of Pre-trial detention, the alleged assaults appear to be crimes of

opportunity that occurred in the course of less than two (2) minutes. Even the “weapon” that was

alleged to have been used was not one that was brought with Mr. McKellop, but instead the

individual alleged to be Mr. McKellop appears to pick up the flagpole immediately prior to using

it.

                        Weight of the Evidence Against the Defendant

       All of the evidence related to the identity of the individual who committed these alleged

assault, is circumstantial. All video evidence of the assaults appears to have the perpetrator

wearing a gas mask that obscures the perpetrator’s face. There is a description of a video that

allegedly shows Mr. McKellop putting a similar gas mask on, but there is no statement or video

connecting Mr. McKellop directly from the time that he allegedly puts the gas mask on to the

time of the initial assaults. With hundreds or even thousands of individuals participating in the

riot, it would be incredibly difficult to show that no other participant wore similar clothing. The

evidence of Mr. McKellop being the individual in question relates to a chest patch and gas mask.
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There has been no evidence of the rarity of any of the objects that are being used to attempt to

identify Mr. McKellop.

         Additionally, though there is evidence that Mr. McKellop had at least one flag with him,

See ECF No. 1, Att. 1, at 6, 9, this same flag is nowhere to be seen in the images of the assaults

themselves, raising further doubts about the identity of the individual. See ECF No. 1, Att. 1, at

11-23.

                             Defendant’s History and Characteristics

         Mr. McKellop’s History and Characteristics weighs heavily in favor of release. Mr.

McKellop’s charactercan certainly be evidenced through his distinguished service of twenty-two

and half years, three bronze stars, meritorious service award, and various other awards. Mr.

McKellop also served two deployments in Iraq, and two deployments in Afghanistan. After his

distinguished career in the military Mr. McKellop continued to work for the government as a

contractor through companies such as GRS. Mr. McKellop remained employed until the photos

were published by the FBI.

         Mr. McKellop owns/has a mortgage on his home in Fishersville, Virginia where he has

resided for over six (6) years. Mr. McKellop has no record of drug or alcohol abuse, nor any

criminal history. Due to the lack of criminal history, he has no record concerning failing to

appear in court. Nor was Mr. McKellop on any form of probation or release pending trial,

sentencing, or appeal.

         The best evidence of Mr. McKellop’s likelihood of appearing in court, and strong

evidence of his character, are the events that occurred after the FBI posted images of Mr.

McKellop online. Mr. McKellop became aware of those images soon after their posting, and

immediately began a search for counsel to engage in discussions with the FBI or United State’s
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Attorney’s office. After Counsel made contact with the United States’ Attorney’s Office, Mr.

McKellop directed Counsel to inform United States’ Attorney’s Office of his name and

identifying number from the FBI’s website. At that time Mr. McKellop had no way of knowing

that the FBI had already received tips related to his identity. Mr. McKellop was made aware that

the Government was likely to charge him soon thereafter. If Mr. McKellop had intended to flee,

he would have done so. See Chrestman, ECF No. 23 at 28 (Weighing in the defendant’s favor

that he did not flee).

        Further, once the Government did decide that it was ready to press charges against Mr.

McKellop, more than a month after he had made contact with the United States’ Attorney’s

Office, Mr. McKellop agreed to a self-surrender. See Chrestman, ECF No. 23 at 28 (Weighing

against the defendant that he did not self-surrender even though he did not flee).

        Further, Mr. McKellop brought the cell phone that he was using on January 6, 2021 at the

request of the Government. Chrestman, ECF No. 23 at 28-29 (Noting negatively that the

defendant appeared to have attempted to hide evidence that might have linked him to his actions

on January 6, 2021). There is no evidence that Mr. McKellop attempted to conceal or destroy

any evidence of any role that Mr. McKellop may have played in the events of January 6, 2021.

To the contrary, the Government states that during a search executed on his home, the clothing

that Mr. McKellop was alleged to have worn on the date in question was found.

         It should further be noted that the conversation related to a self-surrender was started on

March 14, 2021, and the surrender was scheduled for March 17, 2021. Yet again, after having

been informed that the Government was now absolutely going to charge him in three (3) days, he

still did not flee, and instead arranged to surrender himself to the FBI. No evidence could be

stronger that Mr. McKellop intends to appear in court for all hearings and resolve this matter.
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        The strength of Mr. McKellop’s character is shown through his extensive and

distinguished military service, his cooperation with the FBI as relates to his arrest, his lack of

criminal record, his lack of involvement in organization involved in the riot, and his willingness

to surrender himself and potential evidence.

                                     Danger to the Community

        Mr. McKellop is in no way a danger to the community, or any person, and this factor

weighs heavily in favor of Mr. McKellop’s release. Mr. McKellop’s lack of a criminal history or

any record of violent behavior prior to or subsequent to the incident on January 6, 2021 certainly

weighs heavily in his favor. Further, unlike other individuals charged in this incident, Mr.

McKellop was not a member of any group engaged in planning any form of attack. Mr.

McKellop did not participate in any preplanning or coordination. Nor was Mr. McKellop a

ringleader of any group, nor did he participate in any leadership role. The evidence shows that

Mr. McKellop came to Washington D.C. to attend a rally for the then-President Trump, not to

engage in any destructive or obstructive conduct. The conduct that Mr. McKellop is accused of

occurred over the course of less than two minutes, following a lifetime of serving, protecting and

fighting for this nation and its values.

        Further, the Government clearly does not believe that Mr. McKellop is truly a danger to

the community or others, as their own actions show. Mr. McKellop’s identity was known to the

Government as early as February 12, 2021, when it was communicated to them through Counsel

on Mr. McKellop’s request. Per the Statement of Facts, it appears that Mr. McKellop’s identity

was known even before that date. See ECF No. 1, Attachment 1 at 5.

        The Government stated in the previous detention hearing that it took time for them to be

able to put together all of the evidence against Mr. McKellop, however, it appears from the
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Statement of Facts that there was body camera footage found of the acts of which Mr. McKellop

is accused, and the Government had identified the individual’s face of the person they believed

to have committed the offenses prior to posting a “Be On The Look Out” or posting the related

images under the identifier 215 to the FBI website. Id. at 2-5. Even if the pictures were only

published online on February 7, 2021, when Mr. McKellop reached out to Counsel, the

Government was aware of who he was within forty-eight (48) hours of that posting. That is two

days before Mr. McKellop was able to make contact with the Government through counsel.

Further, Mr. McKellop was not asked to self-surrender for more than a month after contacting

the Government related to this incident.

       If Mr. McKellop were such a danger, the Government certainly would have requested his

self-surrender on an expedited timetable. The circumstances under which Mr. McKellop is

accused of committing these crimes were unique. The combination of a presidential rally,

culminating in a march towards the Capitol Building, during a period of civil, unrest does not

come along every day, and certainly there are conditions that could be put in place to prevent Mr.

McKellop from participating in any further rallies or civil unrest.

                                           CONCLUSION

       The factor’s above, including the Government’s own actions, strongly favor pretrial

release in this matter. The Government has failed in its burden to prove by a preponderance of

the evidence that Mr. McKellop is a flight risk. Mr. McKellop made himself known to the

Government soon after learning it was interested in information related to him. At no time did

Mr. McKellop attempt to flee. Mr. McKellop self-surrendered at the request of Government and

brought the phone that he had in his possession on January 6, 2021, as requested.
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        The Government has also failed in its burden to show by clear and convincing evidence

that Mr. McKellop is a danger to the community. Mr. McKellop has no prior criminal record.

The actions in question took place over two minutes. Mr. McKellop is a military veteran of more

than two decades who earned several prestigious awards for service (three Bronze Stars and a

Meritorious Service Award) and served deployments in both Iraq and Afghanistan. Mr.

McKellop travelled to the then-President Donald J. Trump’s rally in his body armor due to the

fear of violence from counter protesters. Mr. McKellop was permitted to remain in the

community for over a month by the Government after he was identified as 215. Mr. McKellop

self-surrendered at the request of Government, bringing the phone that he had in his possession

on January 6, 2021. Mr. McKellop did not participate in the planning of any attack, did not

participate in a gang or group that was involved in the attack, nor did he exercise any form of

leadership role. Mr. McKellop did not attempt to destroy or hide any evidence, instead

surrendering the phone as requested by the Government.

       WHEREFORE, the Defendant, by and through counsel, requests that this Honorable

Court release Mr. McKellop and impose any conditions that it deems appropriate in this matter to

assuage any doubts that Mr. McKellop is a flight risk or danger to the community.



                                                     RESPECTFULLY SUBMITTED,

                                                     JEFFREY MCKELLOP
                                                     By Counsel
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/s/ Seth Q. Peritz
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